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4
     Attorney for MICHAEL ROMANO
5

6                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,                  ) No. 15-190 GEB
8
                     Plaintiff,                     )
9                                                   ) AMENDED STIPULATION AND [PROPOSED]
            v.                                      ) TO CONTINUE Mr. ROMANO’s
10                                                  ) SENTENCING DATE FROM AUGUST 17, 2018
                                                    ) TO AUGUST 31, 2018
11
     MICHAEL ROMANO,                                )
12
                       Defendant.                   ) Judge: Hon. Garland E. Burrell, Jr.
     ================================)
13        Defendant Michael Romano is requesting a continuance of his sentencing hearing, which is
14   presently set for August 17, 2018. USPO Besabe is not available to be in court on August 17. Friday,
15
     August 31, 2018, is the first available date for all parties, USPO Besabe and the Court.
16
            AUSA Audrey Hemesath, on behalf of the United States Attorney’s Office, and USPO Julie
17

18
     Besabe, on behalf of the United States Probation Office, have no objection to the requested

19   continuance to August 31, 2018. The pre-sentence report and all objections have already been

20   completed and filed.
21
     Dated: August 10, 2018                                 Respectfully submitted,
22
                                                            /s/ Michael D. Long
23
                                                            MICHAEL D. LONG
24                                                          Attorney for Michael Romano

25   Dated: August 10, 2018                                 McGREGOR SCOTT
                                                            United States Attorney
26

27
                                                            /s/ Audrey Hemesath
                                                            AUDREY HEMESATH
28                                                          Assistant U.S. Attorney


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1
                                 ORDER
2

3          Mr. Romano’s sentencing hearing is continued from August 17, 2018, to 9:00 a.m. on
     August 31, 2018.
4
            Dated: August 13, 2018
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